87 F.3d 1309
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Richard Dean MEARS, Plaintiff-Appellant,v.UNITED STATES of America;  John Hahn, Defendants-Appellees.
    No. 96-6127.
    United States Court of Appeals, Fourth Circuit.
    Submitted May 16, 1996.Decided June 5, 1996.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Alexandria.   Leonie M. Brinkema, District Judge.  (CA-95-1506-AM).
      Richard Dean Mears, Appellant Pro Se.
      E.D.Va.
      DISMISSED.
      Before RUSSELL, LUTTIG, and WILLIAMS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals the district court's denial of a motion for a temporary restraining order.   We dismiss the appeal for lack of jurisdiction because the order is not appealable.   This court may exercise jurisdiction only over final orders, 28 U.S.C. § 1291 (1988), and certain interlocutory and collateral orders, 28 U.S.C. § 1292 (1988);  Fed.R.Civ.P. 54(b);  Cohen v. Beneficial Indus.   Loan Corp., 337 U.S. 541 (1949).   The order here appealed is neither a final order nor an appealable interlocutory or collateral order.
    
    
      2
      We dismiss the appeal as interlocutory.   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    
      3
      DISMISSED.
    
    